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                                              December 13, 2021

Via CM/ECF Filing
The Honorable John Michael Vazquez, U.S.D.J.
The United States District Court for the District of New Jersey, Newark Vicinage
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, N.J. 07102

            Re:          Redi-Data, Inc. v. The Spamhaus Project a/k/a The Spamhaus Project Ltd.,
                         Civil Action No. 2:20-cv-17484-JMV-JBC

Dear Judge Vazquez:

        This firm represents plaintiff, Redi-Data, Inc. (“Plaintiff”), in the above-referenced
lawsuit. We write to withdraw as moot the pending motion for an extension of time to serve the
complaint [Dkt. No. 8] in light of the fact that service was effectuated on defendant within the
allotted time. See Stipulation dated December 13, 2021 [Dkt. No. 9].

       If the Court has additional concerns or requires additional information, the undersigned
can be contacted at the Court’s convenience via email (ecarbone@coleschotz.com) or phone
(201-525-6299). As always, the Court’s time and attention to this matter are greatly appreciated.


                                                      Respectfully submitted,

                                                      COLE SCHOTZ P.C.

                                                      /s/ Elizabeth A. Carbone

                                                      Elizabeth A. Carbone

cc:         All Counsel of Record Via CM/ECF




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